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   8                        UNITED STATES DISTRICT COURT
   9                      CENTRAL DISTRICT OF CALIFORNIA
  10                               SOUTHERN DIVISION
  11 HECTOR HERNANDEZ, individually,              Case No. 8:20-CV-01747-CJC-JDE
     C.H. and H.R. by and through their           [Hon. Cormac J. Carney, Dist. Judge;
  12 Guardian ASHLEY CHADWICK,                    Hon. John D. Early, Magistrate Judge]
     individually and as successor-in-interest
  13 of HECTOR HERNANDEZ, deceased,,
  14               Plaintiffs,                    PROTECTIVE ORDER RE
                                                  CONFIDENTIAL DOCUMENTS
  15        vs.
  16 CITY OF FULLERTON;                           [Note Changes by the Court]
     FULLERTON POLICE
  17 DEPARTMENT, public entities;
     CORPORAL JONATHAN FERRELL,
  18 and DOES 1 through 50, individually
     and as peace officers, inclusive,
  19
                 Defendants.
  20
  21        Based on the parties’ Stipulation for Entry of Protective Order re Confidential
  22 Documents and the Court’s authority, and for good cause shown,
  23        IT IS HEREBY FOUND AND ORDERED that:
  24 1.     SCOPE OF PROTECTION.
  25        The protections conferred by this Order cover not only Protected
  26 Material/Confidential Documents (as defined below), but also (1) any information
  27 copied or extracted from Protected Material; (2) all copies, excerpts, summaries, or
  28 compilations of Protected Material; and (3) any testimony, conversations, or

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   1 presentations by Parties or their Counsel that might reveal Protected Material.
   2 However, the protections conferred by the parties’ Stipulation and this Order do not
   3 cover the following information: (a) any information that is in the public domain at
   4 the time of disclosure to a Receiving Party or becomes part of the public domain after
   5 its disclosure to a Receiving Party as a result of publication not involving a violation
   6 of this Order, including becoming part of the public record through trial or otherwise;
   7 and (b) any information known to the Receiving Party prior to the disclosure or
   8 obtained by the Receiving Party after the disclosure from a source who obtained the
   9 information lawfully and under no obligation of confidentiality to the Designating
  10 Party.
  11          The Definitions section of the parties' associated Stipulation is incorporated by
  12 reference herein.
  13          Any use of Protected Material at trial shall be governed by the Orders of the
  14 trial judge: this Order does not govern the use of Protected Material at trial.
  15          Nothing in parties’ Stipulation or this Order shall be construed as binding upon
  16 the Court or its court personnel, who are subject only to the Court’s internal
  17 procedures regarding the handling of materials filed or lodged, including materials
  18 filed or lodged under seal.
  19          A.    PURPOSES AND LIMITATIONS.
  20          Disclosure and discovery activity in this action are likely to involve production
  21 of confidential, proprietary, or private information for which special protection from
  22 public disclosure and from use for any purpose other than prosecuting or defending
  23 this litigation would be warranted. The parties have acknowledged that this Order
  24 does not confer blanket protections on all disclosures or responses to discovery and
  25 that the protection it affords extends only to the specified information or items that
  26 are entitled to treatment as confidential.
  27          The parties further acknowledged that this Order creates no entitlement to file
  28 confidential information under seal, except to the extent specified herein; Central

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   1 District Local Rule 79-5.1 et seq. sets forth the procedures that must be followed and
   2 reflects the standards that will be applied when a party seeks permission from the
   3 Court to file material under seal.
   4         Nothing in the parties’ Stipulation or in this Order shall be construed as any
   5 entitlement for the parties to file any documents or materials under seal; nor shall the
   6 parties’ Stipulation or this Order be construed as any exemption from any of the
   7 requirements of Central District Local Rule 79-5. The parties are required to comply
   8 with the applicable Local Rules in their entirety. If the Court denies a party’s request
   9 for filing material under seal, that material may be filed in the public record unless
  10 otherwise instructed by the Court.
  11         Nothing in this Order shall be construed so as to require or mandate that any
  12 Party disclose or produce privileged information or records that could be designated
  13 as Confidential Documents/Protected Material hereunder.
  14 2.      DURATION OF PROTECTION.
  15         Even after final disposition of this litigation, the confidentiality obligations
  16 imposed by this Order shall remain in effect until a Designating Party agrees
  17 otherwise in writing or a court order otherwise directs.
  18         Final disposition shall be deemed to be the later of (1) dismissal of all claims
  19 and defenses in this action, with or without prejudice; or (2) final judgment herein
  20 after the completion and exhaustion of all appeals, rehearings, remands, trials, or
  21 reviews of this action, including the time limits for filing any motions or applications
  22 for extension of time pursuant to applicable law.
  23 3.      DESIGNATION OF PROTECTED MATERIAL/CONFIDENTIAL
  24         DOCUMENTS.
  25         3.1.   Exercise of Restraint and Care in Designating Material for Protection.
  26         Each Party or non-party that designates information or items for protection
  27 under the parties’ Stipulation and this Order must take care to limit any such
  28 designation to specific material that qualifies under the appropriate standards. A

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   1 Designating Party must take care to designate for protection only those parts of
   2 material, documents, items, or oral or written communications that qualify – so that
   3 other portions of the material, documents, items or communications for which
   4 protection is not warranted are not swept unjustifiably within the ambit of this Order.
   5         Mass, indiscriminate, or routine designations are prohibited. Designations that
   6 are shown to be clearly unjustified, or that have been made for an improper purpose
   7 (e.g., to unnecessarily encumber or inhibit the case development process, or to impose
   8 unnecessary expenses and burdens on other parties), expose the Designating Party to
   9 sanctions.
  10         If it comes to a Party’s or a non-party’s attention that information or items that
  11 it designated for protection do not qualify for protection at all, or do not qualify for
  12 the level of protection initially asserted, that Party or non-party must promptly notify
  13 all other parties that it is withdrawing the mistaken designation.
  14         3.2.   Manner and Timing of Designations. Except as otherwise provided in
  15 this Order, or as otherwise ordered, material that qualifies for protection under this
  16 Order must be clearly so designated before the material is disclosed or produced.
  17         Designation in conformity with this Order requires:
  18         (a)    for information in documentary form (apart from transcripts of
  19 depositions or other pretrial proceedings, and regardless of whether produced in
  20 hardcopy or electronic form), that the Producing Party affix the legend
  21 “CONFIDENTIAL” to each page that contains Protected Material. If only a portion
  22 or portions of the material on a page qualifies for protection, the Producing Party also
  23 must clearly identify the protected portion(s) (e.g., by making appropriate markings
  24 in the margins) and must specify, for each portion that it is “CONFIDENTIAL.” The
  25 placement of such “CONFIDENTIAL” stamp on such page(s) shall not obstruct the
  26 substance of the page’s (or pages’) text or content.
  27         A Party or non-party that makes original documents or materials available for
  28 inspection need not designate them for protection until after the Receiving Party has

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   1 indicated which material it would like copied and produced. During the inspection
   2 and before the designation, all of the material made available for inspection shall be
   3 deemed “CONFIDENTIAL.” After the Receiving Party has identified the documents
   4 it wants copied and produced, the Producing Party must determine which documents,
   5 or portions thereof, qualify for protection under this Order. Then, before producing
   6 the specified documents, the Producing Party must affix the “CONFIDENTIAL”
   7 legend to each page that contains Protected Material. If only a portion or portions of
   8 the material on a page qualifies for protection, the Producing Party also must clearly
   9 identify the protected portion(s) (e.g., by making appropriate markings in the
  10 margins).
  11         (b)   for testimony given in deposition, that the Party or non-party offering or
  12 sponsoring the testimony identify on the record, before the close of the deposition, all
  13 protected testimony, and further specify any portions of the testimony that qualify as
  14 “CONFIDENTIAL.” When it is impractical to identify separately each portion of
  15 testimony that is entitled to protection, and when it appears that substantial portions
  16 of the testimony may qualify for protection, the Producing Party may invoke on the
  17 record (before the deposition is concluded) a right to have up to twenty (20) days to
  18 identify the specific portions of the testimony as “CONFIDENTIAL.”              Only
  19 those    portions   of   the   testimony   that   are   appropriately   designated     as
  20 “CONFIDENTIAL” for protection within the 20 days shall be covered by the
  21 provisions of the parties’ Stipulation and this Protective Order.
  22 The court reporter must affix to each such page the legend “CONFIDENTIAL,” as
  23 instructed by the Producing Party.
  24         (c)   for information produced in some form other than documentary, and for
  25 any other tangible items (including but not limited to information produced on disc or
  26 electronic data storage device), that the Producing Party affix in a prominent place on
  27 the exterior of the container or containers in which the information or item is stored
  28 the legend “CONFIDENTIAL.” If only portions of the information or item warrant

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   1 protection, the Producing Party, to the extent practicable, shall identify the protected
   2 portions, specifying the material as “CONFIDENTIAL.”
   3         3.3.   Inadvertent Failures to Designate.     If timely corrected (preferably,
   4 though not necessarily, within 30 days of production or disclosure of such material),
   5 an    inadvertent   failure   to   designate   qualified   information   or   items   as
   6 “CONFIDENTIAL” does not, standing alone, waive the Designating Party’s right to
   7 secure protection under the parties’ Stipulation and this Order for such material. If
   8 material is appropriately designated as “CONFIDENTIAL” after the material was
   9 initially produced, the Receiving Party, on timely notification of the designation, must
  10 make reasonable efforts to assure that the material is treated in accordance with the
  11 parties’ Stipulation and this Order.
  12         3.4.   Alteration of Confidentiality Stamp Prohibited. A Receiving Party shall
  13 not alter, edit, or modify any Protected Material so as to conceal, obscure, or remove
  14 a “CONFIDENTIAL” stamp or legend thereon; nor shall a Receiving Party take any
  15 other action so as to make it appear that Protected Material is not subject to the terms
  16 and provisions of the parties’ Stipulation and this Order. However, nothing in this
  17 section shall be construed so as to prevent a Receiving Party from challenging a
  18 confidentiality designation subject to the provisions of section 4, infra.
  19 4.      CHALLENGING CONFIDENTIALITY DESIGNATIONS.
  20         4.1.   Timing of Challenges.      Any Party or non-party may challenge a
  21 designation of confidentiality at any time that is consistent with the Court's
  22 Scheduling Order.
  23         4.2.   Meet and Confer. The Challenging Party shall initiate the dispute
  24 resolution process under Local Rule 37-1 et seq, which shall include providing written
  25 notice of each specific designation it is challenging, and describing the basis (and
  26 supporting authority or argument) for each challenge. To avoid ambiguity as to
  27 whether a challenge has been made, the written notice must recite that the challenge
  28 to confidentiality is being made in accordance with this Protective Order.

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   1         4.3 Joint Stipulation. Any challenge submitted to the Court shall be via a joint
   2 stipulation pursuant to Local Rule 37-2. The burden of persuasion in any such
   3 challenge proceeding shall be on the Designating Party. Frivolous challenges, and
   4 those made for an improper purpose (e.g., to harass or impose unnecessary expenses
   5 and burdens on other parties) may expose the Challenging Party to sanctions. Unless
   6 the Designating Party has waived or withdrawn the confidentiality designation, all
   7 parties shall continue to afford the material in question the level of protection to which
   8 it is entitled under the Producing Party’s designation until the Court rules on the
   9 challenge.
  10         4.4.   Withdrawal of “CONFIDENTIAL” Designation. At its discretion, a
  11 Designating Party may remove Protected Material/Confidential Documents from
  12 some or all of the protections and provisions of the parties’ Stipulation and this Order
  13 at any time by any of the following methods:
  14         (a)    Express Written Withdrawal. A Designating Party may withdraw a
  15 “CONFIDENTIAL”            designation     made      to    any     specified     Protected
  16 Material/Confidential Documents from some or all of the protections of the parties’
  17 Stipulation and this Order by an express withdrawal in a writing signed by such Party
  18 (or such Party’s Counsel, but not including staff of such Counsel) that specifies and
  19 itemizes the Disclosure or Discovery Material previously designated as Protected
  20 Material/Confidential Documents that shall no longer be subject to all or some of the
  21 provisions of the parties’ Stipulation and Order. Such express withdrawal shall be
  22 effective when transmitted or served upon the Receiving Party. If a Designating Party
  23 is withdrawing Protected Material from only some of the provisions/protections of the
  24 parties’ Stipulation and this Order, such Party must state which specific provisions
  25 are no longer to be enforced as to the specified material for which confidentiality
  26 protection hereunder is withdrawn. Otherwise, such withdrawal shall be construed as
  27 a withdrawal of such material from all of the protections/provisions of the parties’
  28 Stipulation and this Order;

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   1         (b)    Express Withdrawal on the Record. A Designating Party may withdraw
   2 a “CONFIDENTIAL” designation made to any specified Protected Material/
   3 Confidential Documents from all of the provisions/protections of the parties’
   4 Stipulation and this Order by verbally consenting in court proceedings on the record
   5 to such withdrawal – provided that such withdrawal specifies the Disclosure or
   6 Discovery Material previously designated as Protected Material/Confidential
   7 Documents that shall no longer be subject to any of the provisions of the parties’
   8 Stipulation and this Order.      A Designating Party is not permitted to withdraw
   9 Protected Material from only some of the protections/ provisions of the parties’
  10 Stipulation and this Order by this method;
  11         (c)    Implicit Withdrawal by Publication or Failure to Oppose Challenge. A
  12 Designating Party shall be construed to have withdrawn a “CONFIDENTIAL”
  13 designation made to any specified Protected Material/Confidential Documents from
  14 all of the provisions/protections of the parties’ Stipulation and this Order by either
  15 (1) making such Protected Material/Confidential Records part of the public record –
  16 including but not limited to attaching such as exhibits to any filing with the Court
  17 without moving, prior to such filing, for the Court to seal such records; or (2) failing
  18 to timely oppose a Challenging Party’s motion to remove a “CONFIDENTIAL”
  19 designation to specified Protected Material/Confidential Documents.
  20         Nothing in the parties’ Stipulation and this Order shall be construed so as to
  21 require any Party to file Protected Material/Confidential Documents under seal,
  22 unless expressly specified herein.
  23 5.      ACCESS TO AND USE OF PROTECTED MATERIAL.
  24         5.1.   Basic Principles. A Receiving Party may use Protected Material that is
  25 disclosed or produced by another Party or by a non-party in connection with this case
  26 only for preparing, prosecuting, defending, or attempting to settle this litigation – up
  27 to and including final disposition of the above-entitled action – and not for any other
  28 purpose, including any other litigation or dispute outside the scope of this action.

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   1 Such Protected Material may be disclosed only to the categories of persons and under
   2 the conditions described in the parties’ Stipulation and this Order. When the above
   3 entitled litigation has been terminated, a Receiving Party must comply with the
   4 provisions of section 9, below (FINAL DISPOSITION).
   5         Protected Material must be stored and maintained by a Receiving Party at a
   6 location and in a manner that ensures that access is limited to the persons authorized
   7 under the parties’ Stipulation and its Order.
   8         5.2.   Disclosure of “CONFIDENTIAL” Information or Items.                 Unless
   9 otherwise ordered by the Court or permitted in writing by the Designating Party, a
  10 Receiving      Party    may     disclose   any    information    or    item   designated
  11 "CONFIDENTIAL" only to:
  12         (a)    the Receiving Party’s Outside Counsel of record in this action, as well
  13 as employees of such Counsel to whom it is reasonably necessary to disclose the
  14 information for this litigation;
  15         (b)    the officers, directors, and employees (including House Counsel) of the
  16 Receiving Party to whom disclosure is reasonably necessary for this litigation – each
  17 of whom, by accepting receipt of such Protected Material, thereby agree to be bound
  18 by the parties’ Stipulation and this Order;
  19         (c)    Experts (as defined in the parties’ Stipulation) of the Receiving Party to
  20 whom disclosure is reasonably necessary for this litigation – each of whom, by
  21 accepting receipt of such Protected Material, thereby agree to be bound by the parties’
  22 Stipulation and this Order;
  23         (d)    court reporters, their staffs, and Professional Vendors to whom
  24 disclosure is reasonably necessary for this litigation – each of whom, by accepting
  25 receipt of such Protected Material, thereby agree to be bound by the parties’
  26 Stipulation and this Order;
  27         (e)    during their depositions, witnesses in the action to whom disclosure is
  28 reasonably necessary – each of whom, by accepting receipt of such Protected

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    1 Material, thereby agree to be bound by the parties’ Stipulation and this Order. Pages
    2 of transcribed deposition testimony or exhibits to depositions that reveal Protected
    3 Material may not be disclosed to anyone except as permitted under the parties’
    4 Stipulation and this Protective Order;
    5         (f)    the author or custodian of a document containing the information that
    6 constitutes Protected Material, or other person who otherwise possessed or knew the
    7 information.
    8         5.3.   Notice of Confidentiality. Prior to producing or disclosing Protected
    9 Material/Confidential Documents to persons to whom the parties’ Stipulation and this
   10 Order permits disclosure or production (see section 5.2, supra), a Receiving Party
   11 shall provide a copy of this Order to such persons so as to put such persons on notice
   12 as to the restrictions imposed upon them herein: except that, for court reporters,
   13 Professional Vendors, and for witnesses being provided with Protected Material
   14 during a deposition, it shall be sufficient notice for Counsel to give the witness a
   15 verbal admonition (on the record, for witnesses) regarding the provisions of the
   16 parties’ Stipulation and this Order and such provisions’ applicability to specified
   17 Protected Material at issue.
   18         5.4.   Reservation of Rights. Nothing in the parties’ Stipulation and this Order
   19 shall be construed so as to require any Producing Party to designate any records or
   20 materials as “CONFIDENTIAL.” Nothing in the parties’ Stipulation or this Order
   21 shall be construed so as to prevent the admission of Protected Material into evidence
   22 at the trial of this action, or in any appellate proceedings for this action, solely on the
   23 basis that such Disclosure or Discovery Material has been designated as Protected
   24 Material/Confidential Documents. Notwithstanding the foregoing, nothing in the
   25 parties’ Stipulation or this Order shall be construed as a waiver of any privileges or
   26 of any rights to object to the use or admission into evidence of any Protected Material
   27 in any proceeding; nor shall anything herein be construed as a concession that any
   28 privileges asserted or objections made are valid or applicable.

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    1         Nothing in the parties’ Stipulation or this Order shall be construed so as to
    2 prevent the Designating Party (or its Counsel or custodian of records) from having
    3 access to and using Protected Material designated by that Party in the manner in which
    4 such persons or entities would typically use such materials in the normal course of
    5 their duties or profession – except that the waiver of confidentiality provisions shall
    6 apply (see section 4.4(c), supra).
    7         5.5.   Applications to File Confidential Documents Under Seal. A Party that
    8 seeks to file under seal any Protected Material must comply with Local Civil Rule 79-
    9 5.1, et seq., which contains detailed procedures governing the procedures for requests
   10 to file material under seal. The parties agree that, barring withdrawal of a designation
   11 or some other reason excusing such attempt provided in this Order or as agreed by the
   12 parties, any party who receives Protected Material designated under this Order by
   13 another Party will follow the procedures under Local Civil Rule 79-5.1 et seq. to seek
   14 leave to file such material under seal. Protected Material may only be filed under seal
   15 pursuant to a court order authorizing the sealing of the specific Protected Material. If
   16 a Party’s request to file Protected Material under seal is denied by the court, then the
   17 Receiving Party may file the information in the public record unless otherwise
   18 instructed by the court.
   19 6.      PROTECTED MATERIAL SUBPOENAED OR ORDERED PRODUCED
   20         IN OTHER LITIGATION.
   21         If a Party is served with a subpoena or court order issued in other litigation that
   22 compels disclosure of any information or items in the Party's possession or control
   23 which had been designated in this action as “CONFIDENTIAL,” that Party must:
   24         (a) promptly notify in writing the Designating Party, preferably (though not
   25 necessarily) by facsimile or electronic mail. Such notification shall include a copy of
   26 the subpoena or court order at issue, if possible;
   27         (b) promptly notify in writing the party who caused the subpoena or order to
   28 issue in the other litigation that some or all of the material covered by the subpoena

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    1 or order is subject to the parties’ Stipulation and this Protective Order.          Such
    2 notification shall include a specific reference to the parties’ Stipulation and this
    3 Protective Order; and
    4        (c) cooperate with respect to all reasonable procedures sought to be pursued
    5 by all sides in any such situation, while adhering to the terms of the parties’
    6 Stipulation and this Order.
    7        If the Designating Party timely seeks a protective order, the Party served with
    8 the subpoena or court order shall not produce any information designated in this action
    9 as “CONFIDENTIAL” before a determination by the court from which the subpoena
   10 or order issued, unless the Party has obtained the Designating Party’s permission. The
   11 Designating Party shall bear the burden and expense of seeking protection in that court
   12 of its confidential material – and nothing in these provisions should be construed as
   13 authorizing or encouraging a Receiving Party in this action to disobey a lawful
   14 directive from another court.
   15        The purpose of this section is to ensure that the affected Party has a meaningful
   16 opportunity to preserve its confidentiality interests in the court from which the
   17 subpoena or court order issued.
   18 7.     UNAUTHORIZED DISCLOSURE OF PROTECTED MATERIAL.
   19        7.1.   Unauthorized Disclosure of Protected Material.
   20        If a Receiving Party learns that, by inadvertence or otherwise, it has disclosed
   21 Protected Material to any person or in any circumstance not authorized under the
   22 parties’ Stipulation and this Order, the Receiving Party must:
   23        (a) notify in writing the Designating Party of the unauthorized disclosures;
   24        (b) use its best efforts to retrieve all copies of the Protected Material;
   25        (c) inform the person or persons to whom unauthorized disclosures were made
   26 of all the terms of this Order; and
   27        (d) request that such person or persons consent to be bound by the Stipulation
   28 and this Order.

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    1         7.2.    Inadvertent Production of Privileged or Otherwise Protected Material.
    2         When a Producing Party gives notice to Receiving Parties that certain
    3 inadvertently produced material is subject to a claim of privilege or other protection,
    4 the obligations of the Receiving Parties are those set forth in Federal Rule of Civil
    5 Procedure 26(b)(5)(B). This provision is not intended to modify whatever procedure
    6 may be established in an e-discovery order that provides for production without prior
    7 privilege review. Pursuant to Federal Rule of Evidence 502(d) and (e), insofar as the
    8 parties reach an agreement on the effect of disclosure of a communication or
    9 information covered by the attorney-client privilege or work product protection, the
   10 parties may incorporate their agreement in the stipulated protective order submitted
   11 to the Court.
   12 8.      PUBLICATION OF PROTECTED MATERIAL PROHIBITED.
   13         A Receiving Party shall not publish, release, post, or disseminate Protected
   14 Material to any person except those delineated and authorized by the parties’
   15 Stipulation and this Order (see section 5, supra); nor shall a Receiving Party publish,
   16 release, leak, post, or disseminate Protected Material/Confidential Documents to any
   17 news media, member of the press, website, or public forum (except as permitted under
   18 this Order regarding filings with the Court in this action and under seal).
   19 9.      FINAL DISPOSITION.
   20         Unless otherwise ordered or agreed in writing by the Producing Party, within
   21 thirty (30) days after the final termination of this action (defined as the dismissal or
   22 entry of judgment by the above named Court, or if an appeal is filed, the disposition
   23 of the appeal), upon written request by the Producing Party, each Receiving Party
   24 must return all Protected Material to the Producing Party – whether retained by the
   25 Receiving Party or its Counsel, Experts, Professional Vendors, agents, or any non-
   26 party to whom the Receiving Party produced or shared such records or information.
   27         As used in this subdivision, “all Protected Material” includes all copies,
   28 abstracts, compilations, summaries or any other form of reproducing or capturing any

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    1 of the Protected Material, regardless of the medium (hardcopy, electronic, or
    2 otherwise) in which such Protected Material is stored or retained.
    3         In the alternative, at the discretion of the Receiving Party, the Receiving Party
    4 may destroy some or all of the Protected Material instead of returning it – unless such
    5 Protected Material is an original, in which case, the Receiving Party must obtain the
    6 Producing Party’s written consent before destroying such original Protected Material.
    7         Whether the Protected Material is returned or destroyed, the Receiving Party
    8 must submit a written certification to the Producing Party (and, if not the same person
    9 or entity, to the Designating Party) within thirty (30) days of the aforementioned
   10 written request by the Designating Party that specifically identifies (by category,
   11 where appropriate) all the Protected Material that was returned or destroyed and that
   12 affirms that the Receiving Party has not retained any copies, abstracts, compilations,
   13 summaries or other forms of reproducing or capturing any of the Protected material
   14 (in any medium, including but not limited to any hardcopy, electronic or digital copy,
   15 or otherwise).
   16         Notwithstanding this provision, Counsel are entitled to retain an archival copy
   17 of all pleadings, motion papers, transcripts, legal memoranda or other documents filed
   18 with the Court in this action, as well as any correspondence or attorney work product
   19 prepared by Counsel for the Receiving Party, even if such materials contain Protected
   20 Material; however, any such archival copies that contain or constitute Protected
   21 Material remain subject to this Protective Order as set forth in Section 2, above. This
   22 Court shall retain jurisdiction in the event that a Designating Party elects to seek
   23 enforcement of this Order, including sanctions for violation of the parties’ Stipulation
   24 and this Order.
   25 10.     MISCELLANEOUS.
   26         10.1. Right to Further Relief. Nothing in the parties’ Stipulation or this Order
   27 abridges the right of any person to seek its modification by the Court in the future.
   28 / / /

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    1        10.2. Right to Assert Other Objections. By stipulating to the entry of this
    2 Protective Order pursuant to the parties’ Stipulation, no Party waives any right it
    3 otherwise would have to object to disclosing or producing any information or item on
    4 any ground not addressed in the parties’ Stipulation or this Order. Similarly, no Party
    5 waives any right to object on any ground to use in evidence any of the material
    6 covered by the parties’ Stipulation and this Protective Order.
    7        The provisions of the parties’ Stipulation and this Protective Order shall be in
    8 effect until further Order of the Court.
    9        IT IS SO ORDERED.
   10 DATED: December 28, 2021
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   12
                                           By:
   13
                                                   JOHN D. EARLY
   14                                            United States Magistrate Judge
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